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                                                                         UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                       CALIFORNIA COALITION FOR WOMEN                      Case No.: 4:23-CV-04155-YGR
                                  6    PRISONERS, ET AL.,
                                                                                           ORDER APPROVING MOTION FOR FINAL
                                  7                                                        APPROVAL OF CONSENT DECREE;
                                                   Plaintiffs,
                                  8                                                        AND
                                              v.
                                  9                                                        FINAL JUDGMENT
                                       UNITED STATES OF AMERICA FEDERAL
                                  10
                                       BUREAU OF PRISONS, ET AL.,
                                                                                           Re: Dkt. No. 465
                                  11
                                                    Defendants.
Northern District of California




                                  12
 United States District Court




                                  13          Plaintiffs in this action are hundreds of women who endured well-documented systemic
                                  14   abuse, sexual assault, and acts of retaliation at the federal women’s correctional facility FCI Dublin.
                                  15   Since plaintiffs filed suit, the Court has conducted an unannounced site visit to the facility, issued
                                  16   an order for injunctive relief, overseen the criminal trials of several former Dublin staff, and
                                  17   appointed a special master who authored a comprehensive report of the conditions leading to this
                                  18   action and has continued to oversee the government’s compliance with this Court’s orders.
                                  19   Meanwhile, the parties in this action have engaged in no less than seven settlement conferences
                                  20   over months of negotiations to resolve class members’ claims. Those negotiations produced a
                                  21   consent decree for which class members now seek final approval. Having carefully considered the
                                  22   papers submitted and the pleadings in this action, and for the reasons set forth below, the Court
                                  23   hereby GRANTS the Motion for final approval of the proposed consent decree.
                                  24          I.        Background
                                  25                    A. Factual Background
                                  26          The factual developments leading to this action were documented in detail in this Court’s
                                  27   order granting plaintiffs’ motion for class certification and granting in part the motion for injunctive
                                  28   relief. (See Dkt. No. 222 at 1-13.) In short, the approximately 650 women housed at FCI Dublin
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                                  1    and its satellite camp endured years of systemic sexual assault and whistleblower retaliation as
                                  2    perpetrated by all levels of facility staff, including the FCI Dublin warden himself. The allegations
                                  3    led to numerous criminal convictions and hundreds of individual plaintiffs filing civil suits.
                                  4           In August 2023, plaintiffs filed a complaint and a motion for both class certification and a
                                  5    preliminary injunction, alleging systemic abuse faced by adults in custody (“AICs”) at FCI Dublin1.
                                  6    The Court held several days of evidentiary hearings in January 2024, followed by an unannounced,
                                  7    in-person, nine-hour inspection of the facility and its satellite camp in February.
                                  8           Finding defendants to be deliberately indifferent to the plight of the Dublin AICs, the Court
                                  9    entered injunctive relief in March 2023, which included the appointment of a special master to
                                  10   oversee compliance with the Court’s order. Four days after Special Monitor Wendy Still2 began her
                                  11   observation, defendants announced the shuttering of FCI Dublin. In the following days and weeks,
                                  12   Dublin AICs endured further trauma as they were chaotically transferred to alternative Bureau of
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                                  13   Prisons (“BOP”) facilities throughout the country. Monitor Still has ably continued her oversight
                                  14   responsibilities, which included authoring a comprehensive report on the abuses at Dublin, and the
                                  15   parties have engaged in continued efforts to resolve this matter. As a result of those efforts, the
                                  16   parties now propose the consent decree before the Court.
                                  17                  B. Terms of the Proposed Consent Decree
                                  18          Under the terms of the proposal, the class is afforded injunctive relief across eight
                                  19   categories for a two-year term from the date of Court approval. The consent decree also contains
                                  20   provisions for ongoing monitoring and implementation of the relief provided, dispute resolution
                                  21   procedures, and for attorney’s fees and costs. The consent decree is attached hereto at Exhibit A
                                  22   and incorporated by reference.3
                                  23

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                                  25           Throughout this order, reference to AICs shall specifically mean those formerly housed at
                                       Dublin and who are part of the injunctive class, unless otherwise specified.
                                  26
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                                                Wendy Still was initially appointed Special Master, and then continued her responsibilities
                                       as the Court-appointed Senior Special Monitor to oversee the implementation of the Court’s
                                  28   injunctive relief.


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                                  3                       1. Injunctive Relief
                                  4                           i.     Medical and Mental Health Care
                                  5           The consent decree requires the Monitor to provide monthly updates on the status of any
                                  6    AIC who is the subject of a Medical and/or Mental Health Alert, the adequacy of mental health
                                  7    staffing across BOP facilities housing AICs, and wait times for mental health services by outside
                                  8    providers. Upon request of class counsel or class member, the BOP is also required to provide AICs
                                  9    updates on the status of any request to receive services from outside providers. BOP also agrees to
                                  10   provide mental and medical health care to AICs in their primary language to the extent feasible.
                                  11   Subject to ongoing Monitor reporting, AICs will also be entitled to Rape Crisis Center assistance
                                  12   upon request. Finally, the BOP mut share with the Monitor “its policies, practices, and
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                                  13   implementation of credentialing for medical and mental health providers and clinicians” for all
                                  14   facilities housing AICs. (Dkt. No.438-2, ¶¶ 34-41.)
                                  15                          ii.    Alerts and Reporting
                                  16          The Monitor will report monthly on class member alerts pertaining to AIC concerns in the
                                  17   areas described below. BOP is required under the terms of the consent decree to provide any
                                  18   documentation requested by the Monitor to fulfill this obligation. (Id. ¶ 42.)
                                  19                          iii.   Staff Abuse and Retaliation
                                  20          The consent decree provides procedural protections for AICs placed in administrative
                                  21   detention status. First, detailed documentation with an explanation concerning the placement shall
                                  22   be provided to the AIC and the Monitor within 24 hours of the designation. Second, a chain of
                                  23   review for all such designations is automatically in place, with a BOP Regional Director able to
                                  24   make a determination as to whether they agree with the decision to place the AIC in administrative
                                  25   detention. The decree ensures AICs receive administrative remedy forms upon their placement in
                                  26   detention. Subject to security needs, AICs placed in detention will also receive supplemented phone
                                  27          3
                                                The summary of terms provided below is intended to capture the most important elements
                                  28   of the consent decree. The parties are bound by the text of the consent decree itself, not by this
                                       Court’s summary.

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                                  1    call, correspondence, visitation, exercise, and program participation rights, and the ability to access
                                  2    the commissary “with the same frequency as the general population.” (Id. ¶ 46.) AICs in
                                  3    administrative detention are also entitled to confidential, two-way communication with the Monitor
                                  4    and medication devices and prescription medication within 24 hours. The consent decree specifies
                                  5    procedures for AICs to report any BOP failure to adhere to these protections, which include
                                  6    ongoing reporting by the Monitor and a review process within BOP.
                                  7            As for reports of ongoing retaliation, AICs are entitled to submit complaints directly to the
                                  8    Monitor or BOP liaison, and reports automatically are to be sent to the Office of Internal Affairs
                                  9    (OIA) and the DOJ’s Office of the Inspector General (OIG). The consent decree permits the
                                  10   monitor to recommend reconsideration of any action taken with respect to an AIC and corrective
                                  11   action to address the retaliation.
                                  12           Opportunities to confidentially report instances of staff physical or sexual abuse are
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                                  13   guaranteed to AICs as well. AICs are entitled to documentation stating the results of any follow-up
                                  14   investigations and the Monitor is required to continuously report on any such allegations.
                                  15                           iv.     Designation and Release
                                  16           Class members are entitled to placement “as close as practicable to the Class Member’s
                                  17   primary residence, and to the extent practicable, in a facility within 500 driving miles of that
                                  18   residence.” (Id. ¶ 69.) AICs with longer than nine months remaining on their sentence may not
                                  19   spend more than six months in administrative detention or at a Federal Transfer Center. Credit is
                                  20   awarded for time housed at FCI Dublin or in administrative detention facilities following the
                                  21   transfer therefrom. The Monitor is required to continuously report on the AICs’ current
                                  22   designations as well as time remaining and time credits, and BOP has agreed to release any eligible
                                  23   class member to community placement as soon as possible. The consent decree ensures no AIC
                                  24   loses time credits due to transfer from Dublin, and the Monitor is empowered to ensure this
                                  25   provision is implemented. Additionally, BOP has agreed, subject to Monitor oversight, to “continue
                                  26   to review all disciplinary incident reports issued to Class Members at FCI Dublin between January
                                  27   1, 2020, and May 1, 2024 . . . [and to] expunge all disciplinary reports that are found to contain due
                                  28   process, evidentiary, or other procedural violations, and adjust Class Members’ security and


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                                  1    recidivism classifications, FTCs, and release dates accordingly.” (Id. ¶ 75.) The Monitor will report
                                  2    on BOP’s review and on compassionate release requests.
                                  3                           v.      Access to Counsel and the Monitor
                                  4           The consent decree guarantees ongoing routine access to confidential communication with
                                  5    the Monitor and class counsel.
                                  6                           vi.     Processing of Damage Related to Closure Due to Property Loss
                                  7           The Monitor will continue to review AIC claims of property loss and damage due to the
                                  8    transfer from FCI Dublin. BOP is required to respond to any claims filed by December 1, 2024 by
                                  9    July 1, 2025, and an appeals process is established for any denied claim.
                                  10                          vii.    Special Master Report
                                  11          The consent decree expressly states that the Special Master’s report does not in itself create
                                  12   a cause of action or right to relief for any AIC.
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                                  13                          viii.   Additional Relief
                                  14          “BOP Director will issue a formal, public acknowledgement to victims of staff sexual abuse
                                  15   at FCI Dublin. Following any BOP final decision regarding the lease, sale, or reopening of the FCI
                                  16   Dublin property, BOP will notify the Monitor and Class Counsel of such decision.” (Id. ¶¶ 88-89.)
                                  17                      2. Monitoring and Implementation
                                  18          The Consent Decree affords the Monitor a reasonable staff and budget to complete her
                                  19   duties, and she is guaranteed access to both BOP facilities and to class members. Class members, in
                                  20   turn, are guaranteed access to class counsel. The parties have agreed to enter into a protective order
                                  21   governing the sharing of confidential information. The parties furthermore jointly request Ms. Still
                                  22   be appointed as Special Monitor. The request is GRANTED.
                                  23                      3. Dispute Resolution
                                  24          Should any disagreement arise in the course of interpreting the consent decree, parties have
                                  25   agreed to first meet and confer and, if necessary, to seek mediation from Magistrate Judge Spero or
                                  26   another magistrate judge or mediator.
                                  27                      4. Notice to Class Members and Final Approval
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                                  1           In addition to seeking court approval, parties sent out notice to class members of the
                                  2    proposed consent decree, and opportunity was given for class members to file objections. Notice
                                  3    was sent out to all class members before December 22, 2024, and class members were given until
                                  4    February 7, 2025 to file any objection.
                                  5                       5. Attorneys’ Fees
                                  6           BOP has agreed to pay class counsel’s reasonable attorneys’ fees and costs.
                                  7           II.     LEGAL STANDARD
                                  8           The Court is required to find the proposed consent decree “fair, reasonable, and adequate.”
                                  9    Fed. R. Civ. P. 23(e). In so deciding, the Court must take into account whether “the class
                                  10   representatives and class counsel have adequately represented the class;” “the proposal was
                                  11   negotiated at arm's length;” “the proposal treats class members equitably relative to each other;”
                                  12   and “the relief provided for the class is adequate.” Id. With specific regard to the latter, the Court
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                                  13   must consider “the costs, risks, and delay of trial and appeal;” “the effectiveness of any proposed
                                  14   method of distributing relief to the class, including the method of processing class-member claims;”
                                  15   “the terms of any proposed award of attorney's fees, including timing of payment;” and “any
                                  16   agreement required to be identified under Rule 23(e)(3).”
                                  17          In Hanlon v. Chrysler Corp., the Ninth Circuit identified the following factors relevant to
                                  18   assessing a settlement proposal: (1) the strength of the plaintiff’s case; (2) the risk, expense,
                                  19   complexity, and likely duration of further litigation; (3) the risk of maintaining class action status
                                  20   throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery completed and
                                  21   the stage of the proceeding; (6) the experience and views of counsel; (7) the presence of a
                                  22   government participant; and (8) the reaction of class members to the proposed settlement. 150 F.3d
                                  23   1011, 1026 (9th Cir. 1998).
                                  24          III.    ANALYSIS
                                  25                  A. Pre-requisites to Approval
                                  26          The Court has already found, in granting preliminary approval, that the consent decree was
                                  27   the result of arm’s-length negotiations, and that the proposed consent decree was sufficiently fair to
                                  28



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                                  1    trigger notice to the class. Additionally, the Court found counsel to be “experienced and
                                  2    knowledgeable” and to “have actively prosecuted and defended this litigation” (Dkt. No. 442 ¶ 2.)
                                  3                    B. The Consent Decree is Fair, Reasonable, and Adequate
                                  4            As stated in its order granting preliminary approval and on the record at the hearing for final
                                  5    approval, the Court finds the consent decree to be fair. Parties have negotiated an agreement that
                                  6    provides procedural protections for class members moving forward, and allows for the continuation
                                  7    of the Monitor’s work ensuring that, to the extent possible, past harms are rectified. In so deciding,
                                  8    the Court has considered the Hanlon factors and found that the class would be well-served with the
                                  9    strong protections afforded by the consent decree without subjecting class members to further delay
                                  10   and possible trauma in the form of a trial. Considering, especially, that the vast majority of class
                                  11   members did not object, the Court is satisfied that the consent decree is fair.
                                  12           At the preliminary approval hearing, the Court raised several concerns which the parties
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                                  13   have largely addressed. The Court’s biggest concern was ensuring the parties had agreed upon a
                                  14   system to ensure complete and timely payment of the Monitor, as well as to ensure that the Monitor
                                  15   had access to adequate resources to implement the decree. In follow-up briefing, the parties
                                  16   informed the Court that they had met with the Monitor, who provided budget and staffing requests
                                  17   along with “additional project management plans.” (Dkt. No. 455 at 1.) The parties informed the
                                  18   Court that they:
                                                      agreed to develop a process for reviewing the budget on a regular basis
                                  19
                                                      to determine whether the budget need to be increased, decreased, or
                                  20                  shifted, in certain areas and to account for the ongoing reduction in the
                                                      class size due to releases and any other changes as implementation
                                  21                  continues. This process will include quarterly meetings to discuss any
                                                      requests from the Senior Monitor and her team as well as any concerns
                                  22
                                                      from the Parties. To the extent the Parties disagree they will utilize the
                                  23                  dispute resolution mechanisms contained in the proposed Consent
                                                      Decree.
                                  24
                                       (Id.) The Court is satisfied the parties have a process in place to ensure the Monitor receives timely
                                  25
                                       compensation for her hard work and has access to adequate staffing to complete her
                                  26
                                       responsibilities.
                                  27

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                                  1            Additionally, the parties’ first filing following preliminary approval intimated there were
                                  2    still uncertainties with regard to the specific class definition. Parties attested as follows:
                                                        Defendants provided Plaintiffs with a list of all people who were
                                  3
                                                        incarcerated at FCI Dublin between the filing of Complaint in this
                                  4                     action and the Court’s order certifying a class under Rule 23(b)(2).
                                                        Plaintiffs are reviewing this list which indicates there are
                                  5                     approximately 59 individuals who were housed at FCI Dublin
                                                        following the filing of this matter, were transferred prior to class
                                  6
                                                        certification in March of 2024, and remain in custody. The parties will
                                  7                     have a more fulsome update regarding the definition of the settlement
                                                        class by January 31, 2025.
                                  8
                                       (Dkt. No. 452 at 2.) The class definition remains as negotiated. In the motion for final approval,
                                  9
                                       plaintiffs stated:
                                  10
                                                        The class definition is currently based on the date of class certification,
                                  11                    but Class Counsel has previously indicated support for expanding the
                                                        definition to include those who were at FCI Dublin when the
                                  12
                                                        Complaint was filed, as well as victims of FCI Dublin staff sexual and
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                                  13                    physical abuse. The Consent Decree is court-enforceable and includes
                                                        a dispute resolution process in the event differences in interpretation
                                  14                    arise.
                                  15
                                       (Dkt. No. 465 at 18.)
                                  16
                                               Lastly, the Court notes that defendants request a stay to re-negotiate two provisions.
                                  17
                                       Further, counsel indicates to the Court they do “not have sufficient information to ascertain whether
                                  18
                                       BOP has sufficient resources to implement the Consent Decree, specifically with respect to the
                                  19
                                       Monitor’s estimated fees and costs during the period of monitoring.” (Dkt. No. 464 at 2.)
                                  20
                                       Defendants cite the “change in administration, the change in key personnel, and the issuance of
                                  21
                                       Executive Orders that may impact some provisions in the Consent Decree” as reasons for this. (Id.)
                                  22
                                       The request to re-negotiate is denied. The Court will not withhold final approval on this basis.
                                  23
                                       After months of negotiations, the parties have a signed consent decree and the Court considers both
                                  24
                                       parties bound by its terms. Furthermore, as plaintiffs note in opposition, “the requirement that the
                                  25
                                       district court approve a class action settlement does not affect the binding nature of the parties'
                                  26
                                       agreement.” In re Syncor Litig., 516 F.3d 1095, 1100 (9th Cir. 2008).4
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                                                See also Collins v. Thompson, 679 F.2d 168, 172 (9th Cir. 1982) (“There are two steps in
                                       reaching a settlement in a class action: (1) the parties by themselves reach an agreement of

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                                  1                   C. Objections
                                  2           Only eleven class members (including organizational plaintiff California Coalition of
                                  3    Women Prisoners) filed objections to the consent decree, representing a small number of the total
                                  4    class. Numerous class members listened to the final approval proceedings and either voiced no
                                  5    objection or asked questions which were answered. As the Court mentioned, this is a negotiated
                                  6    settlement. Perfection is not the standard. The Court finds the concerns expressed in the objections
                                  7    well-founded but not sufficient to defeat final approval of the consent decree:
                                  8        • One class member raised serious concerns as to the improper punitive use of administrative
                                  9            detention and the lack of procedural protections for class members subjected thereto. (Dkt.
                                  10           No. 443.) This class member also expressed a lack of trust that designations for release or
                                  11           community placement would happen in good faith. The Court finds the consent decree
                                  12           contains adequate procedural safeguards to protect class members from the concerns raised,
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                                  13           including the ongoing use of the Monitor to ensure BOP compliance.
                                  14       • Two class members objected on the basis that the decree does not call for defendants “to
                                  15           release minimum to low recidivism and security risk rated sexual abuse survivors from
                                  16           Dublin's ‘Rape Club’ to immediate home confinement detention.” (Dkt. Nos. 444, 450.)
                                  17           The Court finds that the consent decree contains provisions to offer care and support to
                                  18           survivors of sexual abuse as well as procedures to ensure release as soon as practicable. In
                                  19           addition, class members may still petition their sentencing judges for compassionate release
                                  20           based upon their individual experience, situation, and background.
                                  21       • One class member expressed that they were subject to ongoing retaliation due to their status
                                  22           as a Dublin AIC, and expressed general objections to the consent decree based thereon.
                                  23           However, this class member did not identify a specific provision of the decree they found
                                  24           objectionable. (Dkt. No. 449.) The Court understands the class member’s concern as to
                                  25
                                       settlement, and (2) the court evaluates the proposed settlement. The reason for judicial approval is
                                  26   not to give the negotiating parties more time or even to ensure that the settlement is fair as between
                                  27
                                       the negotiating parties, but rather to ensure that other unrepresented parties and the public interest
                                       are treated fairly by the settlement. . . . Judicial approval of a consent decree is clearly a condition
                                  28   subsequent, and should not affect the legality of the formation of the proposed consent decree as
                                       between the negotiating parties.”).

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                                  1          ongoing retaliation but feels that the consent decree contains adequate safeguards to protect
                                  2          class members from ongoing retaliation.
                                  3       • One class member described the painful details of the retaliation she endured at Dublin,
                                  4          including a demotion from her job, and expressed anger that under the consent decree, her
                                  5          sentence would only be shortened by two months and that she would not receive financial
                                  6          compensation for her demotion. (Dkt. No. 454.) The Court shares the class member’s
                                  7          anger, but feels class counsel has been able to negotiate a consent decree that addresses her
                                  8          concerns to the extent possible. This class member will be entitled to the Monitor’s review
                                  9          of her remaining sentence and entitled to community placement as soon as she is eligible
                                  10         under federal law. The Court further notes that this consent decree affords injunctive relief
                                  11         only without depriving any class member of the right to sue for damages.
                                  12      • Another class member wrote to express concern that the decree lacks sufficient legal
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                                  13         authorization to be enforced properly. Given the class member’s experiences with the BOP
                                  14         until now, the concern is understandable. The Court wants to reassure this and all class
                                  15         members that the consent decree’s terms are legally binding upon defendants, and
                                  16         compliance is subject to court order upon final approval. By the consent decree’s own
                                  17         terms, this class member will be entitled to access to the Monitor and class counsel in order
                                  18         to report any future failure by defendants to adhere to the consent decree’s terms. This AIC
                                  19         further objects to the fact that sexual assault survivors are not automatically entitled to
                                  20         home confinement. As plaintiffs note, “[t]he Consent Decree provides meaningful class-
                                  21         wide relief related to community placements, including ongoing monitoring of eligibility
                                  22         and release, and requires BOP to release eligible class members to community placement as
                                  23         soon as practicable.” (Dkt. No. 465 at 10.) And “[t]o the extent that class members are not
                                  24         eligible for release to community placement and request release based on extenuating
                                  25         circumstances, there are other avenues for such relief, including filing for compassionate
                                  26         release.” (Id. at 11.)
                                  27      • Finally, several Dublin AICs wrote to the Court not to object to the consent decree, but to
                                  28         express frustration at ongoing retaliation or conditions of their confinement. The Court


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                                  1          believes that the access to class counsel and to the Monitor ensured by the consent decree
                                  2          will provide these AICs a pathway to have these concerns adjudicated.
                                  3       • The Court further received letters from institutional plaintiff the California Coalition of
                                  4          Women Prisoners, and non-party Family Violence Law Center (FVLC). The former stated
                                  5          that it “welcome[s] the proposed consent decree” but had “critical concerns from coalition
                                  6          members about potential gaps in the Consent Decree, especially in light of the BOP's
                                  7          proven inability to protect and care for people in its custody.” (Dkt. No. 463.) Those
                                  8          concerns were as follows:
                                  9              o Ensuring AICs transferred from Dublin before class certification are afforded the
                                  10                 protections of the injunctive relief.
                                  11             o Concerns that BOP would be unable to enforce the conditions to which it bound
                                  12                 itself. The Court is glad that the parties mutually worked out guarantees concerning
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                                  13                 the Monitor’s budget and staffing, and reminds all parties the consent decree is
                                  14                 legally binding upon defendants.
                                  15             o Concerns that the decree does not push BOP enough to review compassionate
                                  16                 release requests and ensure the release of all eligible class members from
                                  17                 incarceration. The Court is mindful that the consent decree empowers the Monitor
                                  18                 to review and report on BOP efforts to release eligible class members, and views
                                  19                 the consent decree as conferring upon the BOP a legal obligation to use all tools at
                                  20                 its disposal within the law to ensure the prompt release of all eligible class
                                  21                 members.
                                  22             o Finally, the Coalition advocates for the consent decree to require “BOP to provide
                                  23                 regular updates . . . on the status of BOP officials placed on administrative leave for
                                  24                 abuse or misconduct at FCI Dublin.” (Id.) The Court appreciates the concern. Class
                                  25                 members are afforded several protections to guard against ongoing staff abuse and
                                  26                 retaliation, regardless of whether staff at facilities housing class members were ever
                                  27                 placed on leave. Should a class member have concerns specific to a staff member at
                                  28



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                                  1                    their current facility, the consent decree guarantees routine and swift confidential
                                  2                    communication with the Monitor and with class counsel to report those concerns.
                                  3           FVLC likewise offered two requests. First, FVLC requests access to class members with
                                  4    whom it is working to provide ongoing care and support. The consent decree provides for access to
                                  5    rape crisis centers who currently have a memorandum of understanding with the BOP. Since FVLC
                                  6    does not, they are concerned that they will be unable to access their clients. Second, as FVLC
                                  7    currently receives no federal funding for its work with sexual abuse survivors, FVLC requests that
                                  8    the consent decree require BOP facilities to apply for federal funding under the Prison Rape
                                  9    Elimination Act of 2003 (“PREA”). The Court is not prepared to change the terms of the negotiated
                                  10   settlement. It appears that these issues can be addressed directly with the Monitor.
                                  11          IV.     CONCLUSION
                                  12          For the reasons set forth above, the motion for final approval of the consent decree is
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                                  13   GRANTED.
                                  14          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that final judgment is
                                  15   ENTERED in accordance with the terms of the Settlement and the Order Granting Preliminary
                                  16   Approval filed on December 20, 2024, and is EFFECTIVE March 31, 2025. The Court anticipates
                                  17   that miscellaneous orders will or may be required as a result of this adjudication.
                                  18          This document constitutes a FINAL JUDGMENT.
                                  19          This terminates Docket No. 465.
                                  20          IT IS SO ORDERED.
                                  21   Date: 2/27/2025                                  _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  22                                                       UNITED STATES DISTRICT COURT JUDGE
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